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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    LONDON


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )           No. 6:18-cv-00315-REW
                                               )
REAL PROPERTY KNOWN AS 223                     )
SPRING WATER LANE, KNOXVILLE,                  )
KNOX COUNTY, TENNESSEE, WITH                   )
ALLIMPROVEMENTS AND                            )
APPURTENANCES,                                 )
                                               )
                      Defendants,              )
                                               )
AND                                            )
                                               )
ROBERT E. TAYLOR, et. al.,                     )
                                               )
                      Claimants.               )
                                               )



               RULE 72 OBJECTIONS TO MAGISTRATE JUDGE’S
            ORDER OF SEPTEMBER 28, 2021 DENYING CLAIMANTS
           DR. ROBERT E. TAYLOR’S AND LORI BARNETT’S MOTION
          FOR RELEASE OF FUNDS TO PAY COUNSEL FEES, CRIMINAL
        DEFENSE EXPENSES AND NECESSARY FAMILY LIVING EXPENSES

       Claimants Dr. Robert E. Taylor and Lori Barnett (“Claimants”), by counsel, respectfully

submit their objections to the magistrate judge’s Order of Sept. 28, 2021 and ask this Court to

review the Order de novo under Rule 72(b) because the order should be considered dispositive

rather than non-dispositive under Rule 72(a). It should treat the magistrate judge’s Order as a

recommended disposition subject to review under Rule 72(b) and not adopt it for the reasons that



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follow and those set forth at much greater length in claimants’ Motion for Release of Funds to Pay

Counsel (D.E. 172) and their Reply to the government’s opposition (D.E. 182).

        This Court should direct the government to release a relatively small part of the funds

seized or restrained in this civil forfeiture case so that they may defend themselves in the related

criminal case, United States v. Taylor, et. al., No. 6:21-CR-13-REW, which was indicted on March

4, 2021, and provide for necessary living expenses for their large family. The Court has previously

stated that it would be receptive to such a request. (D.E. 133 at 7) (“Claimants should file a separate

motion on this question for the Court to consider. The Court feels, in general, receptive to this

avenue if relief.”).

        I.      The Magistrate Judge’s Order Denying Claimants’ Motion Should Be Treated
                as a Dispositive Order Subject to De Novo Review under Fed. R. Civ. P. 72(b).

        Like other circuits, the Sixth Circuit, “[i]n determining whether a particular motion is

dispositive, undertakes functional analysis of the motion’s potential effect on litigation. The list of

dispositive motions contained in § 636(b)(1)(A) is nonexhaustive, and unlisted motions that are

functionally equivalent to those listed in § 636(b)(1)(A) are also dispositive.” Vogel v. U.S. Office

Prods. Co., 258 F.3d 509, 514-15 (6th Cir. 2001) (holding that a remand motion, which simply

sends the case back to state court, is dispositive). “If a motion is dispositive, a magistrate judge

may issue only proposed findings and recommended dispositions in response to that motion. See

28 U.S.C. § 636(b)(1)(B).” 258 F.3d at 515. In Vogel, because the magistrate judge was not

authorized to enter a remand order, it was not a valid order and the opinion accompanying the

order had to be treated as “proposed findings and recommendations” subject to de novo review by

the district court. Id. at 517. Accord Massey v. City of Ferndale, 7 F.3d 506, 508 (6th Cir. 1993).

        Other circuits have employed the same functional analysis as the Sixth Circuit. For

example, the First Circuit held that a motion to appoint a receiver over certain commercial

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properties that were the subject of a foreclosure action was a dispositive motion because a “motion

to appoint a receiver seeks to have a court undertake an action that could have a significant impact

on a party’s ability to manage and control its property during the course of the litigation.” ML-

CFC 2007-6 P.R. Props., LLC v. BPP Retail Props., LLC, 951 F.3d 41, 48 (1st Cir. 2020). The

Court of Appeals relied on the fact that a motion to appoint a receiver was functionally related to

a motion for a preliminary injunction—a motion that was encompassed by the list of prohibited

motions in § 636(b)(1)(A) that cannot be decided by a magistrate judge—and that statutory list

must be construed to “inform[] the classification of other motions as dispositive or nondispositive.”

951 F.3d at 49. The First Circuit cited the Sixth Circuit’s decision in Vogel as support for its

analysis. The First Circuit did not have to reach a significant constitutional issue it raised sua

sponte: whether the magistrate judge’s determination of the receiver issue “would contravene

Article III of the federal Constitution, given the limited review that § 636(b)(1)(A) empowered the

District Court to exercise over that decision” even if the magistrate judge had statutory authority

to “hear and determine” the motion. 951 F.3d at 44.

       Likewise, the Ninth Circuit held that an order authorizing involuntary medication for the

purpose of making the defendant competent to stand trial was a dispositive motion “with regard to

[the defendant’s] affirmative claim that he had a constitutional right to be free from unwanted

medication.” United States v. Rivera-Guerrero, 377 F.3d 1064, 1069 (9th Cir. 2004). The court

concluded that such an order was not among the pretrial matters that could be fully delegated to a

magistrate judge. “Moreover, involuntary medical treatment raised questions of clear

constitutional importance. Therefore, the principle of constitutional avoidance required that the

statute be interpreted to prevent the delegation to the magistrate judge of final determinations

regarding involuntary medication.” Id. at 1070. The Ninth Circuit remanded for the district court



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to apply de novo review to the magistrate judge’s unauthorized order, treating it as proposed

findings and recommendations. While Rivera’s constitutional claim to be free from unwanted

medication was “not directly tied to the merits of Rivera’s case, it has crucial implications for his

right to a fair trial.” Id. at 1069 (citing Riggins v. Nevada, 504 U.S. 127, 141-45 (1992) (Kennedy,

J., concurring in the judgment)). The Ninth Circuit concluded:

               Applying the principle of constitutional avoidance to the case at
               hand strongly supports our conclusion that, like jury selection,
               involuntary medication is not the type of pre-trial matter that
               Congress intended the Act to delegate to magistrate judges. It is
               well-established that “involuntary medical treatment raises
               questions of clear constitutional importance.” [citations omitted]
               Allowing a magistrate judge to make the ultimate decision in a
               matter of such clear constitutional import would raise serious Article
               III concerns. See, e.g., United States v. Raddatz, 477 U.S. 667, 683
               (1980) (The delegation of findings and recommendations to the
               magistrate judge on issues involving constitutional rights does not
               violate Article III “so long as the ultimate decision is made by the
               district court.”).

377 F.3d at 1070 (citing Sell v. United States, 539 U.S. 166, 176 (2003) and other Supreme Court

decisions) (emphasis in original). The Ninth Circuit observed that if the district court had applied

de novo review to the magistrate judge’s order, it would have no need to remand the case, citing

United States v. Weissberger, 951 F.2d 392, 398 (D.C. Cir. 1991).

       As observed by the Ninth Circuit in Rivera-Guerrero, 377 F.3d at 1068, “the Supreme

Court has also indicated that the listed exceptions in § 636(b)(1)(A) is not exclusive.” In Gomez v.

United States, 490 U.S. 858 (1989), the Court considered whether the Federal Magistrates Act, 28

U.S.C. § 631-639 (2000), authorized magistrate judges to conduct jury selection. It held that even

though jury selection was not one of the exceptions listed in § 636(b)(1)(A), it was “more akin to

those precisely defined, ‘dispositive’ matters for which subparagraph (b) meticulously sets forth a


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de novo review procedure.” 490 U.S. at 873-74. The Court agreed with the Eighth Circuit’s holding

that “’subparagraph (A) was plainly intended for less important matters than voir dire.’” 490 U.S.

at 874 n. 28 (quoting United States v. Trice, 864 F.2d 1421, 1428 (8th Cir. 1988)). The Court also

relied on the Act’s legislative history which contained assurances that “magistrates’ adjudicatory

jurisdiction had been circumscribed in the interests of policy as well as constitutional constraints.”

490 U.S. at 872.

       The Supreme Court reiterated its conclusion in Gomez in Peretz v. United States, 501 U.S.

923, 929-30 (1991) where, referring to Gomez, it stated: “The principle of constitutional avoidance

led us to demand clear evidence that Congress actually intended to permit magistrates to take on a

role that raised a substantial constitutional question.” See also Pacemaker Diagnostic Clinic of

Am., Inc. v. Instromedix, Inc., 725 F.2d 537, 545 (9th Cir. 1984) (en banc) (“It would seem at a

minimum, however, that good cause for resumption of direct Article III control exists in a

case…where a substantial constitutional question is presented….”).

       How do these court decisions bear on the same issue presented in this case?

       A.      The magistrate judge did not address the important statutory and constitutional

issues clearly presented by Claimants’ motion that have divided the circuits. The magistrate judge

did not address Claimants’ argument that the Jones-Farmer test was never adopted by the Sixth

Circuit and, in any event, has been undermined by the more recent Supreme Court decisions in

Luis v. United States, 136 S. Ct. 1083, 1088-90 (2016) and Honeycutt v. United States, 137 S. Ct.

1626 (2017), which hold that there is no statutory basis for seizing or restraining untainted property

of the defendant, regardless of whether defendant needs that property in order to bankroll her

defense in a criminal case. See Doc. 172 at 4; Doc. 182 at 3-4. But even if the magistrate judge

had addressed all of these difficult statutory and constitutional issues, he would still have no



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authority to make anything other than “proposed findings of fact and recommendations for the

disposition, by a judge of the court”), because § 636(b)(1)(A) explicitly states that a “motion for

injunctive relief” cannot be “heard and determined” by a magistrate judge. Article III of the

Constitution forbids such a delegation of authority to a non-Article III magistrate judge too.

“Allowing a magistrate judge to make the ultimate decision in a matter of such clear constitutional

import would raise serious Article III concerns. See, e.g., United States v. Raddatz, 477 U.S. 667,

683 (1980) (The delegation of findings and recommendations to the magistrate judge on issues

involving constitutional rights does not violate Article III “so long as the ultimate decision is made

by the district court.”) (emphasis in original). Rivera-Guerrero, 377 F.3d at 1070.

       B.      Just as a motion to appoint a receiver is functionally related to a motion for a

preliminary injunction—a motion that is encompassed by the list of prohibited motions in §

636(b)(1)(A) that cannot be decided by a magistrate judge—so too a motion for the partial release

of the claimants-defendants’ restrained and seized funds to pay counsel fees and expenses is at

least functionally related to a “motion for injunctive relief” --the first of the prohibited motions

listed in § 636(b)(1)(A) that cannot be decided by a magistrate judge. Indeed, the courts of appeals

have repeatedly held that the granting of an asset restraint order or the refusal to dissolve or modify

a restraining order—or a seizure or even a lis pendens--is subject to an immediate interlocutory

appeal under 28 U.S.C. § 1292(a)(1) as an “injunction.” E.g., United States v. 1407 North Collins

St., 901 F.3d 268, 272-73 (5th Cir. 2018)(“the practical effect of seizure warrants is as severe as

that of restraining orders, if not more so”; holding that court has jurisdiction under § 1292(a)(1) to

hear immediate appeal from an order declining to release property from a lis pendens, as it too

makes real property “virtually impossible to sell or mortgage”); United States v. Chamberlain, 868

F.3d 290, 293 (4th Cir. 2017) (en banc); United States v. E-Gold, Ltd., 521 F.3d 411, 415 (D.C.



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Cir. 2008) (seizure warrant and restraining order are both “injunctions” within § 1292(a)(1)

regardless of their nomenclature); United States v. Roth, 912 F.2d 1131, 1133 (9th Cir.

1990)(pretrial restraining order is a “preliminary injunction” for procedural purposes and therefore

appealable under § 1292(a)(1)); In re Assets of Martin, 1 F.3d 1351, 1355 (3d Cir. 1993)(post-

indictment asset restraint order is appealable as an “injunction” under § 1292(a)(1)); United States

v. Kirschenbaum, 156 F.3d 784, 788 (7th Cir. 1998)(same); United States v. Jones, 160 F.3d 641,

646 (10th Cir. 1998)(same); United States v. Kramer, 912 F.2d 1257, 1259 (11th Cir. 1990)(same).

See also United States v. All Assets of Statewide Auto Parts, Inc., 971 F.2d 896 (2d Cir. 1992)

(district court’s refusal to vacate seizure order allowing government to shut down ongoing business

is subject to interlocutory review because it has even more drastic consequences than an

injunction).

       Unless these decisions are all wrong, the magistrate judge had no authority, no “primary

jurisdiction” to make an all-but-final decision on Claimants’ motion (as opposed to making

“proposed findings of fact and recommendations for the disposition, by a judge of the court”),

because § 636(b)(1)(A) explicitly states that a “motion for injunctive relief” cannot be “heard and

determined” by a magistrate judge.

       C.      There is another line of case authority holding that the magistrate judge had no

authority to exercise “primary jurisdiction” over claimants’ motion, i.e., to make an all-but-final

decision under § 636(b)(1)(A) on claimants’ motion. The question has arisen whether magistrate

judges may exercise “primary jurisdiction” under § 636(b)(1)(A) over a Rule 41(g) motion for the

release of property seized for forfeiture. In the only circuit decision counsel has found addressing

that issue, Judge Richard Posner noted “the oddity, and probably the irregularity, of the magistrate

judge’s having denied the motion rather than recommended that the district judge deny it.” “We



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have found numerous cases in which a magistrate judge who is asked to consider a Rule 41(g)

motion issues a report and recommendation to the district judge, pursuant to § 636(b)(1)(B), but

none in which an appellate court reviewed a magistrate judge’s decision granting or denying a

Rule 41(g) motion.” Stuart v. Rech, 603 F.3d 409, 411 (7th Cir. 2010). Accord In re Scranton

Hous. Auth., 487 F. Supp. 2d 530 (M.D. Pa. 2007); United States v. Collins, 2012 U.S. Dist. LEXIS

35980, at *20-21 (N.D. Cal. Mar. 16, 2012) (magistrate judge’s opinion holding that § 636(b)(1)

does not identify any authority “for this court” to rule on any motion for return of property as a

non-dispositive motion).

       II.     Claimants’ unseized assets and income are inadequate to provide for
               reasonable legal and living expenses.

       Claimants’ unseized assets and current income are not sufficient to provide for reasonable

legal and living expenses as both of them face a complex and very long criminal trial together with

enormous amounts of discovery. See United States v. Kahn, 890 F.3d 937, 942 (10th Cir. 2018)

(holding that defendant need only “demonstrate to the district court’s satisfaction that he has

insufficient unseized assets to afford reasonable representation by counsel of his choice” and living

expenses). Claimant have adequately shown what the reasonable legal expenses in a case of this

magnitude will be through the declaration of Dr. Taylor and the declarations of their attorneys.

(See Dr. Taylor, Barbier and Davies Decl. attached to D.E. 172). The magistrate judge had “no

quarrel with defense counsels’ rates and their anticipated fees and expenses. For purposes of this

motion, the Court assumes the staffing of the defense is reasonable.” D.E. 183 at 7. Further,

Claimant’ financial declaration setting out their income and expenses (Taylor and Barnett

Financial Statements and Decl. attached to D.E. 172) establish that, while Claimants can currently

pay their living expenses, they “lack[] sufficient savings or income with which to pay the agreed

upon attorney’s fee.” United States v. Dortch, 2017 WL 9604649, *3 (W.D. Tenn. Dec. 20, 2017)

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(finding defendant’s affidavit and income and expense report show that defendant lacks sufficient

savings and income to pay the agreed upon attorney’s fee).

        The bottom line is that Deborah Barbier has clearly stated under oath that she will have to

move to withdraw as Lori Barnett’s counsel if this Court does not release some funds to pay for

her representation and litigation expenses. D.E. 172-3, ¶12. That is enough to satisfy Lori Barnett’s

burden.1 See United States v. Emor, 794 F. Supp. 2d 143, 149 (D.D.C. 2011). Yet the magistrate

judge disregarded Ms. Barbier’s emphatic statement because Dr. Taylor swore that “to the extent

Lori Barnett is unable to do so, I would fund her defense, including her counsel of choice, Deborah

Barbier.” D.E. 172-4, ¶20. “Thus,” wrote the magistrate judge, “the expectation is that Taylor will

fund the defense for both he and Barnett.” D.E. 183 at 7. This conclusion is completely misleading.

The magistrate judge ignored the fact that Dr. Taylor swore he did not even have enough assets

available to adequately fund his own expensive defense, much less Ms. Barnett’s expensive defense

too. Dr. Taylor was simply saying he would fund Ms. Barnett’s defense if enough of his assets

were released to enable him to do so (because Ms. Barnett did not have enough assets of her own,

even if all of her seized assets were released, to fund her defense). Accordingly, Claimants satisfy

the first prong under Jones-Farmer. Although movants strongly contend that the Jones-Farmer

test should not be applied, they assume for the sake of argument that the magistrate judge was

correct to identify that test as controlling.

        The magistrate judge agreed with the government that there were gaps in Claimants’

financial submissions which precluded them from obtaining an evidentiary hearing on their

motion. He summed up these deficiencies as follows: “Claimants do not satisfy prong one because



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  Ms. Barbier is not just saying that. She has made it clear to the undersigned counsel and to her
client that she means what she says. If Dr. Taylor or Ms. Barnett had the ability to pay Ms.
Barbier’s fees, they would gladly have done so already.
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key descriptions of their assets in the record are unsworn, facially incomplete, and confusing. The

Court has no idea as to Claimants’ net worth….Claimants do not indicate whether friends or family

could help fund the defense.” D.E. 183 at 7-8. The bulk of the 25-page Order is devoted to a

detailed critique of claimants’ financial evidence. D.E. 183 at 6-18. But whatever small gaps there

may be in Claimants’ financial submissions, they cannot change the overall picture because there

is a yawning, unbridgeable gulf between the value of their unseized assets and what they require

for “’reasonable legal and living expenses.’” D.E. 183 at 8(quoting United States v. Jones, 160

F.3d at 649). The gaps and discrepancies identified by the magistrate judge may affect the amount

of assets this Court decides to order released, but they cannot completely disentitle Dr. Taylor and

Ms. Barnett from any relief. The magistrate judge does not suggest that if Dr. Taylor clarifies

various things he left vague or incomplete and explains certain discrepancies between his filings

in this case and his disclosures to Probation, he could change his decision. In any event, the

magistrate judge determined that claimants had not satisfied the second prong of the Jones-Farmer

test, something that cannot be overcome by the submission of new evidence.

        In contrast to the government’s and the magistrate judge’s approach, making it difficult

and burdensome to satisfy the first prong of the Jones-Farmer test, some courts hold that the

defendant’s burden is “’analogous to a defendant’s burden under the Criminal Justice Act (CJA)

to show that he is unable to afford representation.’” United States v. Kolfage, 2021 U.S. Dist.

LEXIS 86113, *13 (S.D.N.Y. May 5, 2021) (quoting United States v. Daugerdas, 2012 U.S. Dist.

LEXIS 167631 (S.D.N.Y. Nov. 7, 2012). The evidence presented by claimants was more than

sufficient under a more reasonable approach. Acceptance of the government’s approach would

emasculate the Supreme Court’s decision in Luis by erecting an all but insurmountable barrier for

a defendant to get into court to seek relief from an unlawful pretrial restraint of his untainted assets.



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The Luis Court thought that most defendants seeking such relief would be afforded an evidentiary

hearing. It observed that “sometimes it will be difficult to say whether a particular bank account

contains tainted or untainted funds. But the law has tracing rules that help courts implement the

kind of distinction we require in this case….They consequently have experience separating tainted

assets from untainted assets, just as they have experience determining how much money is needed

to cover the costs of a lawyer.” Luis, 578 U.S.__, 136 S. Ct. 1083, 1095 (2016). The Supreme

Court clearly intended that the courthouse door would be open to criminal defendants seeking such

relief from seizures and restraining orders concerning untainted property. The High Court expected

that some pretrial evidentiary hearings would be necessary in cases like the one at bar to determine

what property is tainted and what property is untainted. The High Court did not expect district

courts to block the courthouse door based on unrealistic findings that defendants had not shown

that they need to use the untainted funds to hire counsel of choice and bankroll an adequate defense

in complex cases like this with millions of documents and multiple co-defendants. Claimants urge

this Court to re-read Luis before deciding this motion and consider the consequences if Ms. Barnett

is forced to accept CJA counsel to replace her counsel of choice, Ms. Barbier, who would like to

remain in the case if she can be adequately compensated. Consider what the Supreme Court said

in Luis about the inadequacy of publicly paid counsel in a case such as this. 136 S. Ct. at 1095.

       Claimants take issue (“object to”) with several specific aspects of the magistrate judge’s

examination and analysis of their financial evidence.

       First, the fact that claimants’ have “significant living expenses” cannot be considered as a

factor supporting a finding that they failed to satisfy the first prong of Jones-Farmer. Claimants

are raising their six children. Their “significant” living expenses are perfectly reasonable for an

upper middle class family. But the magistrate judge determined that their living expenses “skirt



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the borders of being ‘ordinary’ and/or ‘reasonable.’” D.E. 183 at 10. The facts relied upon by the

magistrate judge in his Order to support this conclusion don’t support it. D.E. 183 at 10. The

magistrate judge did allow that “significant living expenses are not an absolute bar to relief as the

claimant in Wood had ‘significant living expenses,’ but made a successful showing that the

expenses were reasonable and he could not pay them without release of funds.” D.E. 183 at 9

(quoting United States v. Wood, No. 3:15-Cr-GFVT-REW, 2016 WL 8131240, at *5-7 (E.D. Ky.

Oct. 3, 2016)).

       Second, the magistrate judge faults claimants because “they make no representation as to

whether they own other valuable items that could be sold to fund the defense.” D.E. 183 at 14

(emphasis added). But no one asked them to make such an affirmation so how were they to know

that they would need to do so to satisfy the court? Had a hearing been held, this question could

have actually been addressed.

       Third, the magistrate judge said that he “has no idea of Claimants’ total net worth” and

cited two cases for the proposition that a defendant’s failure to disclose his net worth is sufficient

reason to deny his or her motion for relief. D.E. 183 at 15. But even the quotes the magistrate judge

cites show that they are easily distinguished from the case at bar. Id. The disclosures Claimants

made afford the court a reasonably accurate picture of their finances including their net worth. And

it is quite clear that their approximate net worth and their current incomes are far too low to pay

for an adequate defense of their liberty and property in the criminal case and their significant (but

reasonable) living expenses.

       Fourth, the magistrate judge faults Claimants for having “made no attempt to provide the

Court with any financial records or even sworn summary of such records.” D.E. 183 at 16. But

neither the court nor their own lawyers advised them that their underlying financial records—a



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highly labor intensive task—were required at this stage just to get an evidentiary hearing when all

that is required is a threshold showing. The magistrate judge’s demands (echoing the government)

remind one of fruitlessly applying to the DMV for a driver’s license without being told by DMV

what documents it requires the applicant to bring to the DMV office. At least the DMV lets you

come back and apply again after they tell you what documents you are missing. But the magistrate

judge rejected Claimants’ offer to “provide any additional financial and fee information the Court

would like to review at the hearing.” D.E. 182 at 10. He ruled that “without some reliable

accounting of Claimants’ net worth and their full array of assets, Claimants do not make the

threshold showing to warrant a hearing.” D.E. 183 at 16. So their due process and Sixth

Amendment rights to use their own untainted property to defend themselves with counsel of choice

go out the window.

       Fifth, the magistrate judge draws a strongly negative inference from Dr. Taylor’s plain

statement that “[a]s of December 2018, the government has seized and/or restrained the vast

majority of my assets.” D.E. 172-4 at ¶12. See D.E.183 at 16. The magistrate judge concludes that

Dr. Taylor’s phrasing “leaves open the possibility of large unrestrained and unidentified assets.”

D.E. 183 at 16 (italics and bolding in Order). Claimants see no reason to draw any such inference

from Dr. Taylor’s statement.

       Sixth, the magistrate judge places considerable weight on the fact that claimants “made no

representations as to whether family members or friends could help fund the defense. Several cases

have turned on this issue, including Jamieson, which is cited frequently in the parties’ briefs.” D.E.

183 at 17. This brings us back to the DMV analogy again. No one, including Claimants’ counsel,

who have extensive experience in this area, asked Claimants to survey their “family members or

friends” about whether they could help fund the defense for good reason. Had Claimants done so,



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the answer would be obvious: none of their “family members or friends” would have a couple of

million dollars to give or lend them. Claimants do not need only $20,000 or even $200,000. That

distinguishes this case from United States v. Kirschenbaum, 156 F.3d 784, 792 (7th Cir. 1998),

where, as the magistrate judge notes, “[t]he district court repeatedly inquired into whether friends

of family might be able to fund the defense team and the defendant ultimately failed to provide

any evidence on this question.” D.E. 183 at 17. It also distinguishes the district court decision in

United States v. Jamieson, 189 F. Supp. 2d 754, 757 (N.D. Ohio 2002). The Jamieson court merely

asserted a “right to inquire” and informed defendant that it would “require further showing with

regard to this issue at the hearing.” This Court never told Claimants that they needed to address

such questions and neither did Claimants’ lawyers. Counsel did not burden their clients with

making such a survey for at least two reasons: (1) because it was obvious to counsel that Claimants’

“family members and friends” could not or would not give or lend them a significant amount of

money compared with what they needed; and (2) because counsel firmly believe that there is no

legal basis for requiring Claimants to make a showing that they have surveyed all their many

friends and relatives about this.

       Where does such an inquiry end? It would be open-ended and easily manipulated by the

government and result-oriented jurists. Must you ask your sister-in-law? Must you ask your

cousins for money? Your cousins’ spouses? Who counts as a “friend” you must ask for money?

Must you get a sworn statement from each friend and relative? Why stop there? Why not also

require defendants to prove that they tried a Go Fund Me campaign? Although the government

was able to find a few unpersuasive cases in which such an irrelevant inquiry was made by the

court, the vast majority of the case law does not mention any such “evidence” or any need to make

such an inquiry.



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       III.    Claimants have shown a bona fide reason to believe that at least some of the
               seized assets are not subject to forfeiture.

       Initially, it is important to note that the burden of proof does not rest on the Claimants to

prove the legitimate source for the seized items. Jones, 160 F.3d at 647. Claimants only bear a

burden of production. Id. If Claimants provide the Court with at least a “prima facie showing of a

bona fide reason to believe” that their property was seized in error, they are entitled to “an

adversarial hearing at which the Government must establish probable cause to believe that the

[seized] assets are traceable to the underlying offense.” Id.Claimants’ “burden, however, need not

be onerous. As some courts have found, a defendant’s declaration that the assets are untainted is

sufficient.” United States v. Dortch, 2018 U.S. Dist. LEXIS 70365 at *12 (W.D. Tenn. Apr. 26,

2018). See also United States v. Byrd, 153 F. Supp. 3d 851, 856 (D. Md. 2015) (the Farmer test

“is merely a threshold test to reach the pretrial probable cause hearing.” Therefore, a “proffer”

without supporting facts, by an accused drug trafficker that $763,898 in cash held in escrow by the

large law firm he wished to retain was derived from three legitimate cash businesses was enough

to make a “prima facie showing that the [cash was] not subject to forfeiture,” thus entitling him to

an evidentiary hearing under Farmer). Claimants credibly contend that at least some of the seized

property was derived from the legitimate medical practice of EHC and Dr. Taylor’s legitimate

medical practice in Alabama (Direct Primary Care of Mobile, Inc. also known as Vista Medical)

or was legitimate cash seized from a safe at their Knoxville residence and not subject to forfeiture

(9/28/21 Order at 24). Due process requires the government to show that all the property being

held by the government for forfeiture is “tainted,” and thus subject to forfeiture.

       The issue is not simply whether the restrained funds are traceable to EHC because EHC

was a legitimate business. Rather, the issue is whether the seized funds are traceable to a crime.

Here, the government cannot establish that all the seized assets are traceable or otherwise

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sufficiently related to the offenses charged in the indictment. The government has seized all of the

revenue generated by EHC and the sale of EHC under the theory that all of the revenue represents

the proceeds of crime. But that theory is not supported by any evidence the government presented

and the magistrate judge pointed to no such evidence. Dr. Taylor sold the practice to Crossroads

Holding, LLC, on November 14, 2018, after months of due diligence by the purchasers’ counsel.

The magistrate judge wrongly treated that fact as not probative that EHC was a legitimate medical

business. The value of the practice was further enhanced based on changes in government policies

that appropriately have sought to encourage the use of buprenorphine based treatment for opiate

use disorder. The proceeds of the sale represent a large portion of the seized assets. In fact, the

total of the estimated fees and expenses is likely less than twenty percent of the sales price of the

medical practice.

       Claimants rely on the same arguments they made in their prior motion to dismiss (D.E.

89), their Motion for Release of Funds to Pay Counsel (D.E. 172) and their Reply to the

government’s opposition to that motion (D.E. 182). Most importantly, Claimants contend that the

government has not established probable cause for all of the Claimants’ assets that were seized

because there is no factual support for many of the allegations made by S.A. Centers in her

affidavit. While the Court disagreed and denied the motion to dismiss, Claimants stress that the

standard which the Court applied and is needed to satisfy Supplemental Rule G(2)(f) at the

pleading stage is quite different than the standard here. As the Court stated several times in its

Order, to satisfy Supplemental Rule G(2)(f), the government needed to only show its ability to

establish a substantial connection at trial, and tracing is not an issue at the motion to dismiss stage.

(D.E. 132 at 17-18; 19, 20, 21). In the context of the current motion, however, tracing is at issue.

Claimants have only a prima facie burden of showing a bona fide reason to believe the seized



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assets are not subject to forfeiture. Then, the burden shifts to the government to establish probable

cause that the restrained assets are traceable to the underlying offense. The magistrate judge

disregarded all of this. He accepted as an established fact the government’s outlandish theory,

unsupported by any evidence, that EHC was no different than a “pill mill” or a totally fraudulent

“penile implant” mass-marketing scheme. D.E. 183 at 19 (“The government’s theory is that EHC

was made to look legitimate from the outside.”). The magistrate judge cited one allegation in the

indictment at ¶36 but no evidence. D.E. 183 at 22. “[T]he indictment depicts a business with an

overarching criminal purpose, which but for that criminal purpose, would not have existed.” D.E.

183 at 23-24. Really? That is not even plausible and no facts alleged in the indictment actually

support that theory. In any event, an indictment is not evidence. And the magistrate judge did not

consider it necessary for the government to support its implausible theory with a shred of evidence.

That is error. The magistrate judge was not deciding a motion to dismiss the indictment.

       The magistrate judge opined that this case is like Jamieson “where the record showed the

claimant’s only income during the indictment period came from his business that sold fraudulent

life-insurance policies…This case also resembles Singleton, a clinic case in which the second

prong was not met. There, the Court found the claimant’s only ‘engine of wealth’ during the

indictment period was ‘the pill-mill operation.’” D.E. 183 at 21. The magistrate judge faulted

Claimants for merely arguing “that some portion of EHC’s business had to be legitimate.” D.E.

183 at 21. He dismissed Dr. Herrell’s detailed declaration describing EHC’s lawful operations,

standards and practices (D.E. 94, Exh. 1) on the ground that it “does nothing to demarcate tainted

from untainted funds. In fact, it constitutes a blanket denial of the criminal allegations in the

indictment.” D.E. 183 at 21. He did not explain why he considered this highly persuasive




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declaration—and a pile of similar evidence he did not deign to address--was irrelevant or

unpersuasive.

       The magistrate judge did not find persuasive any of the cases Claimants relied on for the

proposition that at least some of EHC’s business must have been legitimate. D.E. 183 at 23-24.

But his analysis doesn’t withstand scrutiny. For example, he purported to distinguish United States

v. Swanson, 394 F.3d 520, 529 (7th Cir. 2005) on the ground that in Swanson “there was evidence

that certain of the funds came from legitimate ‘aboveboard, arm’s length sales negotiations

between sophisticated companies.’” But that in no way distinguishes Swanson from this case. If

given an evidentiary hearing, Claimants could present evidence of thousands of addiction recovery

treatments at EHC that were perfectly proper. The appellate decision in Swanson was able to

summarize all the evidence in the case, looking backward. The present case hasn’t been tried yet

and Claimants have not yet been given an opportunity to present detailed, patient by patient

evidence to the Court. They have a constitutional and statutory right to such an evidentiary hearing

now.

       IV.      Conclusion

       The Court should sustain these objections to the Sept. 28 Order upon a de novo review

under Rule 72(b), and direct the prompt release of such funds as the Court determines are necessary

to pay Claimants’ counsels’ reasonable fees, reasonable anticipated defense costs and their

necessary and reasonable living expenses during the pendency of their lengthy, complex and

extremely time-consuming criminal proceedings. At the very least, the Court should grant

Claimants the opportunity for an evidentiary hearing on their motion.




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Dated: October 8, 2021                      Respectfully submitted,



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                                      Certificate of Service

       I hereby certify that on this 8th day of October, 2021, I filed the foregoing opposition with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

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